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              IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF MONTANA, BILLINGS DIVISION


DENICE D. FABRIZIUS and                       Cause No.: 08-114-BLG-RFC
WILLIAM FABRIZIUS,                            Honorable Richard F. Cebull

             Plaintiffs,
      vs.
                                                AMENDED COMPLAINT AND
                                                 DEMAND FOR JURY TRIAL
KEITH R. SHULTZ, M.D.,
YELLOWSTONE SURGERY
CENTER, DOES 1 through X, and
ROE CORPORATIONS I though X,
inclusive,

              Defendants.

       COME NOW Plaintiffs, Denice D. and William Fabrizius (hereafter

"Denice Fabrizius" and "Bill Fabrizius"), for their Amended Complaint

against the Defendants and allege as follows:

       1. Plaintiff, DENICE FABRIZIUS, is and was at all times herein

mentioned, an individual residing in the State of Wyoming.



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       2. Plaintiff, BILL FABRIZI      US, is and was at all times herein

mentioned, an individual residing in the State of Wyoming.

       3. That at all times mentioned herein, Plaintiffs were informed and

believed and, therefore, allege that Defendant KEITH R. SHULTZ, M.D.

was a resident and licensed physician in Yellowstone County of Montana.

       4. That at all times mentioned herein, Plaintiffs were informed and

believed and, therefore, allege that Defendant YELLOWSTONE SURGERY

CENTER, was a licensed corporation and healthcare facility in Yellowstone

County of Montana.

       5. That at all times mentioned herein, whether individual, corporate,

associate or otherwise Defendants, Does 1 - X and Roes Corporations 1 -

X are unknown to Plaintiffs, who therefore sue said Defendant by such

fictitious names and will ask to amend this Complaint to show their true

names and capacities when the same have been ascertained. Plaintiffs

are informed and believe and, therefore, allege that the Defendant

designated as a DOE or ROE is negligently and/or legally responsible in

some manner for the events described herein, and negligently and/or

legally caused injury and damages to the Plaintiffs as alleged herein.




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      6. On November 10, 2004, Denise Fabrizius was seen and treated

by Keith R. Shultz, M.D. at the Yellowstone Surgery Center located in

Billings, Montana.

      7. That same day, Dr. Shultz elected to perform a C6-7 cervical

epidural steroid block on Denice for the treatment of and relief for neck pain

with the diagnosis of cervical spondylosis.

      8. Wherein Dr. Shultz placed the epidural needle for the cervical

epidural block, Denice "jumped" and verbalized to Dr. Shultz her sensation

of instantaneous and excruciating pain radiating down her entire left arm

and hand.

      9. Dr. Shultz, without first repositioning the epidural needle placement

and waiting for complete resolution of her left arm pain, proceeded to inject

a combination of radio-opaque dye, local anesthetic and steroid

med ication.

       10. Within minutes, Denice was returned to the post-procedure

recovery and observation unit of the Yellowstone Surgery Center where

she advised the nursing staff of her intense left arm and hand pain.

       11. Dr. Shultz later examined Denice while she was still recovering in

the unit and discharged her back to her home in Pavilion, Wyoming.




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      12. Denise drove back to Billings, Montana the next day, November

11, 2004, for urgent evaluation in the Emergency Department at Saint

Vincent Healthcare for Denice's complaints of persisting, increasing and

intense pain of her left arm and hand.

      13. Subsequent to performing the epidural block, Dr. Shultz

completed a medical narrative detailing the procedure. Later, Dr. Shultz

fraudulently altered and changed this narrative to conceal the material fact

of Denice's increasing and continuing complaints of pain and paresthesia

during the epidural procedure to reflect an improved status.

       14. Yellowstone Surgery Center was responsible for all transcription

of medical chart notes as well as the preservation and safekeeping of those

patient records, including Denice's November 10, 2004 note authored by

Dr. Shultz.

       15. Dr. Shultz has not seen nor treated Denice for her continuing and


incapacitating left and, later, right arm pain.

       16. On November 27,2004, Denice was examined and treated by

Mary Neal, M.D. in Riverton, Wyoming for her complaint of intense left arm

pain, hypersensitivity and weakness.

       17. At that time Dr. Neal diagnosed Denice's pain as severe RSD

(Reflex Sympathetic Dystrophy).


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      18. Denice was later examined and treated by Alan Brewer, M.D., a

pain specialist at the University of Colorado in Denver in January of 2008.

      19. Dr. Brewer diagnosed Type II CRPS (Complex Regional Pain

Syndrome) or a subset of RSD

                            FIRST CAUSE OF ACTION

      20. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

      21. Dr. Shultz failed to properly evaluate Denice prior to

recommending and performing the cervical epidural steroid block.

      22. Dr. Shultz failed to properly perform the cervical epidural block.

      23. Dr. Shultz failed to recognize the mal-position of the epidural

needle placement and failed to reposition the needle after being told by

Denice that she had intense radiating left arm pain.

      24. Dr. Shultz proceeded to inject Denice Fabrizius in spite of her

complaints of continued left arm pain at the time of the epidural block.

      25. By reason of these failures, Dr. Schultz directly and proximately

caused and contributed by his negligence to Denice's post-procedure

neurological injury, permanent disability and damages.




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                          SECOND CAUSE OF ACTION

      26. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

      27. Yellowstone Surgery Center, operating a state licensed

healthcare facility in the State of Montana, failed to properly monitor and

assure the clinical competence of Dr. Shultz, an anesthesiologist,

shareholder and healthcare provider.

      28. Yellowstone Surgery Center Failed to maintain accurate, timely

and complete medical records concerning the medical care provided by Dr.

Shultz to Denice.

      29. By reason of these failures, Yellowstone Surgery Center caused

and contributed through its negligence to Denice's post-procedure

neurological injury, permanent disability and damages.

                            THIRD CAUSE OF ACTION

      30. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

       31. The injury to Denice occurred without any fault of her own.

       32. The instrumentality of the injury to Denice was under the

exclusive control of Dr. Shultz at the time Denice was injured.




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      33. Denice's injury is one that does not occur in the ordinary course

of things and would not have occurred if Dr. Shultz had used proper care.

                          FOURTH CAUSE OF ACTION

      34. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

      35. That as a direct and proximate result of Defendants' negligence,

Bill Fabrizius has suffered the loss of consortium, society and comfort of

Denice in amounts all to be proven at triaL.

                            FIFTH CAUSE OF ACTION

      36. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

      37. Dr. Shultz's conduct in altering and changing Denice's medical

records amount to actual malice and fraud as defined in § 27-1-221, M.C.A.

       38. Yellowstone Surgery Center's failure to protect and preserve

Denice's medical chart and allowing Dr. Shultz to alter and change

Denice's medical chart amount to actual malice and fraud pursuant to § 27-

1-221, M.C.A.

       39. Dr. Shultz and Yellowstone Surgery Center had knowledge of

facts and intentionally disregarded facts that created a high probability of

injury to the plaintiff. Dr. Shultz and Yellowstone Surgery Center



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deliberately acted with conscious and intentional disregard as well as

indifference of the probability of injury to Denice. Dr. Shultz and

Yellowstone Surgery Center represented certain facts to have occurred

with knowledge of their falsity and concealed material facts for the purpose

of depriving Denice of her legal rights.

       40.     Dr. Shultz altered and changed Denice's medical records with

the purpose of changing the record of facts as they actually unfolded during

the epidural procedure to reflect a version of fact more beneficial to him

personally.

       41. Dr. Shultz's and Yellowstone Surgery Center's actual malice and

actual fraud create a claim separate and distinct from Plaintiffs's negligence

claims.

       42. Dr. Shultz's and Yellowstone Surgery Center's actual malice and

actual fraud subjects them to a claim for punitive damages.

                                        PRAYER

       WHEREFORE, the Plaintiffs pray for judgment against the

Defendants and each of them, as follows:

       a. For compensatory, economic, non-economic, loss of consortium,

             permanent physical impairment, life care expenses and

             disfigurement damages, all in an amount according to proof;



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      b. For punitive damages;

      c. For post-judgment interest at the maximum legal rate;

      d. For fees and costs of suit herein; and

      e. For such other and further relief as this Court deems just and

proper.

                                   JURY DEMAND

      COME NOW the Plaintiffs and demand a trial by jury.

       DATED this 215t day of August, 2009.



                                               /s/ David R. Paoli
                                              David R. Paoli
                                              Attorneys for Plaintiff
                                              Paoli, Latino & Kutzman, P.C.




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